            Case 1:13-cv-10095-RGS Document 5 Filed 03/13/13 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Robert Simons,                                   :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                   Civil Action No.: 1:13-cv-10095-RGS
                                                 :
Chase Receivables, Inc.; and                     :
DOES 1-10, inclusive,                            :
                                                 :
                      Defendants.                :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 13, 2013

                                                  Respectfully submitted,

                                                  PLAINTIFF, Robert Simons

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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          Case 1:13-cv-10095-RGS Document 5 Filed 03/13/13 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 13, 2013, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg________
                                                    Sergei Lemberg
